Case 5:21-mj-01201-ESC...Document 1.Kiled 10/22/21 Page 1 of 4

FILED

(63) September 08, 2021
United States District Court  (ittwoistricror texas

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for ~ DEPUTY

 

WESTERN DISTRICT OF TEXAS

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Petition for Warrant or Summons for ene Under Superv LD
Name of Offender: _Cornelius Brazil Case Number: AU: > eae 2)-SS

 

Name of Sentencing Judicial Officer: Honorable Sam Sparks, Senior U.S. District Judge

 

Date of Original Sentence: April 13, 2018

 

Original Offense: Felon in Possession of Firearm, in violation of 18 U.S.C. § 922 1

Original Sentence: Sentenced to fifteen (15) months custody in the United States Bureau of
Prisons to be followed by three (3) years supervised release with special conditions requirin

participation in drug treatment and search and seizure

 

Type of Supervision: _Supervised Release_ Date Supervision Commenced: November 27. 2018

 

 

 

Assistant U. S. Attorney: _Mark H. Marshall Defense Attorney: Michael Macmunn Burke
PREVIOUS COURT ACTION

None.
PETITIONING THE COURT

[X] To issue a warrant [] To issue a summons

The probation officer believes that the offender has violated the following condition(s) of
supervision:
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BRAZIL, Cornelius

Petition for Warrant or Summons for
Offender Under Supervision

Page 2

Violation of Mandatory Condition No. 1: “The defendant shall not commit another federal,
state, or local crime during the term of supervision.”

Nature of Non-compliance: According to the San Antonio Police Department Offense/Incident
Report Number SAPD211 10677, Cornelius Brazil is alleged to have committed the offense of
Indecency with a Child-Contact on June 10, 2021. A San Antonio Police Department Officer was
dispatched to a call for Sexual Offense-Child. Upon arrival, an officer was speaking to the
stepparent of the victim and she reported the incident occurred around 22:30 when the victim and
the offender were alone in a living room area. The victim stated the offender touched her in an
inappropriate manner. The victim reported sitting down on a couch playing a console game on
television when the offender approached her from behind the couch and puts his arms around her,
as to be hugging her. The offender then touched the victim’s breasts with his hands. The victim
reported she told the offender to stop, and the offender proceeded to put his hands underneath the
victim’s shirt and again touched her breasts. The victim stated she was wearing a bra and the
offender did not place his hands underneath her bra. The victim reported she pushed the offender’s
_ arms away with her hands, but the offender then walked around the couch and sat next to her. The

offender then put his hand on the victim’s leg and moved it up her thigh. The victim stated she
was wearing blue jeans and she told the offender to stop. On July 21, 2021, this officer spoke to
a San Antonio Police Detective, who stated the case is assigned to San Antonio Police Detective
Ramirez and he scheduled an appointment with the victim along with her stepmother on July 18,
2021, but they were out of town. On August 9, 2021, this officer spoke to San Antonio Police
Detective Ramirez who reported he was able to speak to the victim and he will pursue charges on
the offender for the incident at this time. Detective Ramirez instructed the offender to report to
his office on Sunday August 8, 2021 and he did not appear. He has continued to call him, and the
offender is not answering Detective Ramirez’s phone calls at this time. This officer received an
email from Det. Ramirez on August 16, 2021, stating he filed the case with the District Attorney’s
Office regarding the offender for Indecency with a Child-Contact.

Violation of Standard Condition No. 4 ; “ The defendant shall answer truthfully the questions
asked by the probation officer.”

Violation of Standard Condition No. 5 : “The defendant shall live at a place approved by the
probation officer. If the defendant plans to change where he or she lives or anything about his or
her living arrangements (such as the people the defendant lives with), the defendant shall notify
the probation officer at least 10 days before the change. If notifying the probation officer in
advance in not possible due to unanticipated circumstances, the defendant shall notify the
probation officer within 72 hours of becoming aware of a change or expected change.”

Violation of Standard Condition No. 9 : “ If the defendant is arrested or questioned by a law
enforcement officer, the defendant shall notify the probation officer within 72 hours.”
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BRAZIL, Cornelius

Petition for Warrant or Summons for
Offender Under Supervision

Page 3

Nature of Noncompliance: On August 13, 2021, the offender was instructed to call this officer
and he was asked if he had contact with law enforcement, Initially, he stated, “No”, then later
stated he received a call from “someone” indicating he was being contacted regarding an assault.
The offender denied having anything to do with any assault, According to offender, he reported
he only goes to work and home, and he avoids getting into any trouble. This officer asked when
he received the call and he stated it was several weeks ago. This officer reminded him if he has
contact with law enforcement, it is a condition of his supervision to notify his officer within 72
hours. He stated he was told to report “somewhere”, but he thought it was a prank call.
Additionally, this officer inquired if he was still employed and residing at the same place, and he
affirmed no changes in residence or employment. Within 2 hours of the initial call, he calls this
officer and reported he is no longer with his fiancée, and he is currently staying at a Budget Inn
Motel. He also reported his fiancée is in a medically induced coma and he has been out of their
apartment for a week now.

U. S. Probation Officer Recommendation: The term of supervision should be
revoked.

 

 

Approved by, Respectfully submitted,
Sli Fhog Cok Soraky

Stephen L. Gray Sandra Sanchez

Supervising U.S. Probation Officer U.S. Probation Officer

Date: September 2, 2021 Date: September 2, 2021

Received by,

Assistant U.S. Attorney

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(2 recommend Cldoes not recommend —_Justification:
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THE COURT ORDERS:
[ ] No Action
[x] The Issuance of a Warrant

{ ] The Issuance of a Summons

[ ] Other 1

Honorable k Lane
U.S. Magiétfate Judge

09/08/2021
Date
